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                  IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION
  Case No. 1:24-CV-1576
 ALBERT THROWER,                                 )     Case No. 1:24-CV-1576
                                                 )
        Plaintiff,                               )
                                                 )
        v.                                       )     JUDGE DAN AARON POLSTER
                                                 )
 JUDGE MONA SCOTT, et al.,                       )
                                                 )     JUDGMENT ENTRY
        Defendants.                              )
                                                 )



       In accordance with the Court’s accompanying Memorandum of Opinion and Order, this

action is dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B). The Court further certifies, pursuant

to 28 U.S.C. § 1915(a)(3), that an appeal from this decision could not be taken in good faith.

       IT IS SO ORDERED.

Dated: September 17, 2024                            s/Dan Aaron Polster
                                                     United States District Judge
